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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X                                  11/5/2020
                                                          :
SPECTRUM DYNAMICS MEDICAL                                 :
LIMITED,                                                  :
                                                          :
                                        Plaintiff,        :              18-cv-11386 (VSB)
                                                          :
                      -against-                           :                    ORDER
                                                          :
GENERAL ELECTRIC COMPANY et al.,                          :
                                                          :
                                        Defendants. :
                                                          :
----------------------------------------------------------X

VERNON S. BRODERICK, United States District Judge:

        I am in receipt of the parties Fourth Amended Joint Proposed Schedule. (Doc. 127-1.) In

the proposed schedule, the parties propose a Markman hearing sometime in June 2021. (Id.)

Accordingly, it is hereby:

        ORDERED that the parties submit a joint letter on or before April 1, 2021, that details the

parties’ respective positions with regard to expert testimony and live testimony at the Markman

hearing.

SO ORDERED.

Dated: November 5, 2020
       New York, New York

                                                              ______________________
                                                              Vernon S. Broderick
                                                              United States District Judge
